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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )       Case No. 1:15-cr-00057-PLM-2
                                              )
v.                                            )       Honorable Paul L. Maloney
                                              )
HUMBERTO AARON                                )
MANRIQUE-MENDOZA,                   )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 13, 2015, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Humberto Aaron Manrique-Mendoza entered a plea of guilty to Counts 1 & 7

of the Indictment in exchange for the undertakings made by the government in the written plea

agreement. In Counts 1 & 7 of the Indictment, defendant is charged with Conspiracy to Defraud the

United States and False and Fraudulent Federal Income Return in violation of 18 U.S.C. Section 371

and 26 U.S.C. Section 7206(2) . On the basis of the record made at the hearing, I find that defendant

is fully capable and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made voluntarily and free

from any force, threats, or promises, apart from the promises in the plea agreement; that the
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defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.

                Accordingly,I recommend that defendant's plea of guilty to Counts 1 & 7 of the

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: August 13, 2015                                  /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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